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                                 UNITED STATES MAGISTRATE JUDGE
                                      DETENTION HEARING
CASE NO.     AU:24-M -00885(1)                    LOCATION: AUSTIN, TEXAS
DEFENDANT: (1) Philip Taylor Sobash               ATTORNEY: Angelica Cogliano

MAGISTRATE JUDGE: DUSTIN M. HOWELL                AUSA:              Gabriel Aaron Cohen
CRD:                  Samantha Landeros           INTERPRETER:
COURT REPORTER:       FTR Gold - ERO              PRETRIAL OFFICER: Jessica Ward
CSO:                  Raymond Lemus               TIME:              10:04AM-10:30AM (26 minutes)
HEARING DATE:         December 18, 2024

                                          PROCEEDINGS
       WAIVER OF PRELIMINARY HEARING/ARRAIGNMENT FILED
       PRELIMINARY HEARING/ARRAIGNMENT HELD
       DEFENDANT SWORN
       COURT READ CHARGES TO DEFENDANT; DEFENDANT PLEADS NOT GUILTY
       COURT FINDS PROBABLE CAUSE
       DUE PROCESS WARNING GIVEN; ORDER FILED
 X     DETENTION HEARING HELD
       WITNESS SWORN AND TESTIFIED
       EXHIBITS OFFERED AND ADMITTED
 X     ARGUMENT OF COUNSEL HEARD
 X     MOTION TO DETAIN GRANTED
 X     COURT FINDS THERE ARE NO CONDITIONS TO BE SET
       CONDITIONS REVIEWED WITH DEFT WHO ACKNOWLEDGED UNDERSTANDING & SIGNED SAME
 X     HEARING CONCLUDED
 X     WRITTEN ORDER TO FOLLOW


OTHER:




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